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 1 MELINDA HAAG (CABN 132612)
   United States Attorney
 2
   DAVID R. CALLAWAY (CABN 121782)
 3 Chief, Criminal Division

 4 BRIANNA L. PENNA (CABN 290444)
   Assistant United States Attorney
 5        150 Almaden Blvd., Suite 900
          San Jose, California 95113
 6        Telephone: (408) 535-5061
          Facsimile: (408) 535-5066
 7        Email: brianna.penna@usdoj.gov

 8
     Attorneys for United States of America
 9
10                                   UNITED STATES DISTRICT COURT

11                                 NORTHERN DISTRICT OF CALIFORNIA

12                                            SAN JOSE DIVISION

13
     UNITED STATES OF AMERICA,                        )   CASE NO. 15-CR-00226-BLF
14                                                    )
             Plaintiff,                               )   JOINT STIPULATION FOR EXCLUSION OF
15                                                    )   TIME FROM MAY 26, 2015, TO JUNE 9, 2015,
        v.                                            )   [PROPOSED] ORDER TO EXCLUDE TIME FROM
16                                                    )   MAY 26, 2015, TO JUNE 9, 2015
     DOUGLAS STROMS YORK,                             )
17                                                    )
             Defendant.                               )
18                                                    )

19

20                                            JOINT STIPULATION
21           On May 26, 2015, the parties appeared before the Honorable Beth L. Freeman for an initial
22 status conference. At the hearing, defense counsel informed the Court that additional time is needed for

23 investigation to evaluate issues relating to the defendant’s case. Therefore, the matter was continued

24 until June 9, 2015 at 8:30 a.m. for further status conference.

25           The parties hereby stipulate that the time between May 26, 2015, and June 9, 2015, at 8:30 a.m.,
26 should be excluded from the calculation of time within which the trial in this case must commence
27 pursuant to the Speedy Trial Act, in order to allow each counsel sufficient time to effectively prepare,

28 taking into account the exercise of due diligence. Furthermore, the parties stipulate that the ends of

     JOINT STIPULATION FOR EXCLUSION OF TIME AND [PROPOSED] ORDER TO EXCLUDE TIME
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 1 justice served by granting the request outweigh the best interest of the public and the defendant in a

 2 speedy trial.

 3 DATED: May 28, 2015                                           Respectfully submitted,

 4                                                               MELINDA HAAG
                                                                 United States Attorney
 5

 6                                                               /s/
                                                                 BRIANNA L. PENNA
 7                                                               Special Assistant United States Attorney

 8

 9 DATED: May 28, 2015                                           /s/
                                                                 GRAHAM ARCHER
10                                                               Attorney for the Defendant

11
                                          [PROPOSED] ORDER
12
            Pursuant to the parties’ motion, the Court HEREBY ORDERS that the time between May 26,
13
     2015, and June 9, 2015 be excluded under the Speedy Trial Act, 18 U.S.C. § 3161. The Court finds,
14
     pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and (B)(iv), that the failure to grant the requested continuance
15
     would deny counsel the reasonable time necessary for effective preparation, taking into account the
16
     exercise of due diligence.
17
            Furthermore, the Court finds that the ends of justice served by granting the requested
18
     continuance outweigh the best interest of the public and the defendant in a speedy trial. The Court
19
     therefore concludes that this exclusion of time should be made under 18 U.S.C. §§ 3161(h)(7)(A) and
20
     (B)(iv).
21
            IT IS SO ORDERED.
22

23

24 DATED:_________________                               ____________________________________
25                                                       BETH L. FREEMAN
                                                         United States District Judge
26
27

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     JOINT STIPULATION FOR EXCLUSION OF TIME AND [PROPOSED] ORDER TO EXCLUDE TIME
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